                                                                  USDC SDNY
UNITED STATES DISTRICT COURT                                      DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                     ELECTRONICALLY FILED
NATHANIEL ROBINSON and DAVID                                      DOC #: _______________
EVANS, on behalf of themselves and all others                     DATE FILED: 3/6/2023
similarly situated,

                               Plaintiffs,

               -against-                                              19 Civ. 1404 (AT)

NEW YORK CITY TRANSIT AUTHORITY;                                           ORDER
PATRICK J. FOYE, in his official capacity
as Acting Chairman of the New York City
Transit Authority; and SARAH E. FEINBERG,
in her official capacity as Interim President of the
New York City Transit Authority,

                        Defendants.
ANALISA TORRES, District Judge:

        The Court has been advised via email that the parties have reached a classwide settlement
in principle. By April 10, 2023, the parties shall submit class settlement preliminary approval
papers.

       SO ORDERED.

Dated: March 6, 2023
       New York, New York
